                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                               AT GREENEVILLE


UNITED STATES OF AMERICA                   )
                                           )
V.                                         )         No. 2:05-CR-75
                                           )
DEWEY LYNN PHILLIPS                        )




                                        ORDER


       The defendant has filed a motion in which he requests this Court to reconsider its

order that he be detained pending his trial. [Doc. 23, 24].

       Defendant recites that he has no prior criminal record, and that he has heretofore

“ conducted himself in a proper manner both as a citizen, father, grandfather, employee

and an independent business man . . . . ” He recites that he is a life-long resident of

Cocke County, Tennessee, and that he poses no risk of flight.

       As noted at the initial detention hearing, “ risk of flight” is not the concern of

this Court; rather, “ danger to the community” is the dispositive consideration. In light

of the offense with which defendant is charged, he confronts the rebuttable presumption

of 18 U. S. C. § 3142(e) that there is no condition or combination of conditions that will

acceptably minimize that risk.

       A substantial quantity of cocaine was seized from defendant’s possession, as was

a large sum of currency. Although defendant undeniably is entitled to the presumption

of innocence, the evidence arrayed against him at this point indicates that he is a dealer

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in significant quantities of cocaine.

       Defendant has presented no new facts to this Court that would warrant a reversal

of the Court’s earlier decision. His motion is DENIED.

       SO ORDERED:


                                                    s/ Dennis H. Inman
                                               United States Magistrate Judge




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